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EXHIBIT B
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AMENDED AND RESTATED EMPLOYMENT

AGREEMENT.

This AMENDED AND RESTATED EMPLOYMENT AGREEMENT (the
“Agreement”) dated March 31, 2014.is made by and between ENERGY FUTURE HOLDINGS
CORP. (the “Cempany") and JOHN YOUNG (“Executive”) (individually, each a “Party” and
collectively, the “Parties”),

WITNESSETH

WHEREAS, the Parties previously entered into an employment agreement dated January
6, 2008 and effective January 31, 2008 (“Original Effective Date’), amended and restated by an
employment agreement dated October 17, 2011 and effective July 1, 2011, and most recently
amended and restated by an employment agreement dated December 27, 2012 and effective
December 26, 2012; and

WHEREAS, Executive has been granted an Opportunity to eam supplemental incentive
awards; and

WHEREAS, ibe Parties desire to amend and restate the employment agreement, in each
case on thé terms and conditions set forth herein.

NOW, THEREFORE, in consideration of the mutual promises, covenants and
obligations contained herein, the Company and Executive agree-as follows:

L Ferm of Employment, Subject to the provisions of Section 7 of this Apreement,
this Agreement, as restated, and Executive's employment hereunder shall be effective as of
January 22, 2014 (“Effective Date”) and shall end as of 11:59:59 P.M. on December 31, 2016
(the “Initial Term”). Subject.to the provisions of Section 7 of this Agreement, this Agreement
shall automatically renew for an additional one (1) year period commencing immediately
following the last day of the Initial Term and each one (1) year period thereafter (cach, a
. “Renewal Term”), uniess, the Company or Executive provides the other Party written notice of
non-renéwal at least sixty (60) days prior to the end of the applicable term. The period during
which Executive is employed by the Company hereunder is hereinafter referred to as the
“Employment Term.”

2; Position snd Duties,

(a) During the Employment Term, Executive shall serve as Chief Executive
Officer (“CHO”) of the Company. Executive shall also serve as a member of the board of
directors of the Company (as used herein, the term “Board” shall mean the board of directors of
the Company or a committee designated by such board}, without additional compensation. In
such position, Executive shall have such duties, authority and responsibilities as shall be
determined from time to time by the Board, which duties, authority and responsibilities shall be
customary for Executive's position in a business of similar size, type-and nature.to that of the
Company. Executive shall be the senior most executive officer of the Company and shall report
to the Board with respect to his responsibilities to the Company.

(6b) During the Employment Term, Executive will devote Executive’s full
business time and best efforts to performance of the duties described in Section 2(a) and will not

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EXHIBIT 3
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&. Restrictive Covenants.

a) In consideration of the Company entering into this Agreement with
Executive and hereby promising and committing itself to provide Executive with Confidential
Information and/or specialized training after Executive executes this Agreement, Executive shall
not, directly or indirectly:

@ at any time during or after the Employment Term, disclose any
‘Confidential Information pertaining to the business of the Company, the Sponsor Group, or any
of their respective Affiliates, except when required to perform his duties to the Company or one
of its Affiliates, or by law or judicial process, provided that Executive gives the Company
reasonable notice of any legal or judicial proceeding requiring Executive to disclose Confidential
Information and an opportunity to challenge the disclosure of any such information, and
Executive agrees to provide such reasonable notice in writing to;

General Counsel
Energy Future Holdings Corp.
1601 Bryan Street, 41st Floor
Dallas, Texas 75201
(214) 812-5153 (facsimile);

(ii) at any time during the Employment Term. and for a period of
twenty-four (24) months thereafter (the “Non-Compete Periad”), directly or indirectly, act as a
proprietor, investor, director, officer, employee, substantial stockholder, consultant, or partner in
any Competing Business in Texas or any other geographic area in which Texas Energy Future
Holdings Limited Partnership, the Company or any of their respective subsidiaries operates or
conducts business; or

Gi) at any time during the Employment Term and for a period of
twenty-four (24) months thereafter, directly or indirectly (A) solicit customers or clients of the
Company or any of ts Affiliates to terminate their relationship with the Company or any of its
Affiliates or otherwise solicit such customers or clients to compete with any business of the
Company or any of its Affiliates, or (B) solicit or offer employment to any person ‘who is, or has
been at any time during the twelve (12) months immediately preceding the termination of
Executive's employment, employed by the Company or any of its Affiliates;

provided that in cach of Gi) and (iii} above, such restrictions shall not apply with respect to any
member of the Sponsor Group or any of its Affiliates that.is not engaged in any business that
competes, directly or indirectly, with the Company or any of its subsidiaries im any geographic
area where they operate. Notwithstanding the foregoing, for the purposes of this Section &(a),
(A) Executive may, directly or indirectly own, solely as an investment, securities of any Person
engaged in the business of the Company or its Affiliates that are publicly traded on a national or
regional stock exchange.or-quotation system or on the over-the-counter market if Executive (1) is
not a controlling person of,.or a member of a group which controls, such Person and (ID does
not, directly or indirectly, own 5% or more of any class of securities of such Person, and
(B) Section 8(a)(H) shall not be violated by reason of any exercise of tag-along rights under the
Sale Participation Agreement, by and between the Company (and related parties) and Executive

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(the “Sale Participation Agreement’) or Drag Transaction (as defined in the Sale Participation
Agreement) that may occur after the date hereof.

() Notwithstanding clause (a) above, if at any time a court holds that the
restrictions stated in such clause (a)are unreasonable or otherwise unenforceable under
circumstances then existing, the Parties hereto agree that the maximum period, scope or
geographic area determined to be reasonable under such circumstances by such court will be
substituted for the stated period, scope or area. Because Executive's services are unique and
because Executive has had access to Confidential Information, the Parties hereto agree that
money damages will be an inadequate remedy for any breach-of this Agreement. Inthe event ofa —
breach or threatened breach of this Agreement, the Company or its successors or assigns may, in
addition to other rights and remedies existing in their favor, apply to any court of competent
jurisdiction for specific-performance and/or injunctive relief in order ‘to: enforce,-or prevent any
violations of, the provisions hereof (without the posting of a bond or other security),
Notwithstanding the foregoing, in the event Executive breaches the covenants set forth in this
Section 8, the Company’s rights and remedies with respect Executive's Options, Option Stock,
and Stock and payments related thereto, as those terms are defined in the Management
Stockholder’s Agreement, by-and between the Company (and related parties) and Executive (the
“Management Stockholder’s Agreement’) shall be limited to those set ‘forth in Section 22(c) of
the Management Stockholder’s Agreement.

(c) Bor purposes of this Agreement, the terms listed below shall be defined as
follows:

@ “Affiliate” shall mean with respect to any Person, any entity
directly or indirectly controlling, controlled by or under common contro) with such. Person;
provided, however, for purposes of this Agreement, Texas Energy Future:Co-Invest, LP shall not
be deemed to be an Affiliate of the Sponsor Group or any member of the Sponsor Group.

Gi) “Competing Business” shall mean any business that directly or
indirectly competes, at the relevant determination date, with one or more of the businesses of the
Company or any of its Affiliates in any geographic area where Texas Energy Future Holdings
Limited Partnership, the Company, or any of their respective subsidiaries operates,

(iii) “Confidential Information” shall.mean information: (A) disclosed
ic or known by Executive as a consequence of or through his employment with the Company or
any Affiliate; (B} not publicly available or not generally known outside the Company or any
Affiliate; and (C)that relates to the business and/or development of the Company or any
Affiliate. Any information that does not meet each of the criteria listed above (in subsections (A)
~ (C)) shall not constitute Confidential Information. By way of example, Confidential
information shall include but not be limited to the following: all non-public information or trade
secrets of the Company, or any Affiliate that gives the Company or any Affiliate a competitive
business advantage or the opportunity of obtaining such advantage, or disclosure of which might
be detrimental to the interests of the Company or any Affiliate; information regarding the
Company’s or any Affiliate’s business operations, such as financial and sales data (including
budgets, forecasts, and historical financial data), operational information, plans, and strategies;
business and marketing strategies and plans for various products and services; rate and

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